                         UNITED STATES DISTRICT COURT
USDC IN/ND case 3:08-cr-00031-RLM-CAN   document 55 filed 07/02/08
                        NORTHERN DISTRICT OF INDIANA
                                                                                         page 1 of 3
                                    SOUTH BEND DIVISION


 UNITED STATES OF AMERICA                     )
                                              )
                v.                            )              CAUSE NO. 3:08-CR-31 RLM
                                              )
 FRANK ALLEN FINNEY                           )


                            FINDINGS AND RECOMMENDATION
                               OF THE MAGISTRATE JUDGE
                                UPON A PLEA OF GUILTY

        On June 20, 2008, the Honorable Robert L. Miller, Jr., Chief Judge, referred this case to

 the undersigned to make findings as to whether the defendant (1) is competent to enter a plea; (2)

 knowingly and voluntarily wishes to enter a plea to the charge(s); (3) understands the charge(s);

 (4) whether there exists a factual basis for the charge(s); and a recommendation as to whether a

 plea of guilty should be accepted by the United States District Court Judge.

        On June 27, 2008, at 2:00 p.m. (EDT), a hearing was held on the defendant’s request to

 enter a plea of guilty. Appearing for the United States was Assistant United States Attorney

 Frank E. Schaffer. Appearing for the defendant was David B. Weisman; the defendant was

 personally present. With the written consent of defendant, his counsel and the counsel for the

 United States, the undersigned proceeded to conduct the hearing.

        During the course of the Court’s Rule 11 colloquy, the Defendant, his attorney and the

 attorney for the United States, disclosed that there is an agreement between the Defendant and the

 United States which was not included in the written plea agreement and which the parties did not

 wish to make public. The Court continued with the Rule 11 colloquy and took the Defendant’s

 plea under advisement in order to consider an in-camera supplement.

        On July 2, 2008, the parties filed, under seal, an addendum to the plea agreement signed

 by the Defendant, his counsel and an attorney for the United States.

        In consideration of the hearing of June 27, 2008, the statements made by the defendant
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 under oath on the record and in the presence of counsel, the remarks of the Assistant United

 States Attorney and of counsel for defendant, and the addendum to the plea agreement submitted

 in-camera and sealed

         I FIND as follows:

         (1) that defendant is competent to plead guilty;

         (2) that the defendant understands that his answers may later be used against him in a

 prosecution for perjury or false statement;

         (3) that defendant understands the nature of the charge against him to which the plea is

 offered;

         (4) that the defendant understands the charge and what the maximum possible sentence is,

 including the effect of the supervised release term, and defendant understands that the sentencing

 guidelines apply and that the Court may depart from those guidelines under some circumstances;

         (5) that the defendant understands his right to trial by jury, to persist in his plea of not

 guilty, to the assistance of counsel at trial, to confront and cross-examine adverse witnesses, and

 his right against compelled self-incrimination; to appeal his conviction, if convicted, and that the

 defendant has knowingly and voluntarily waived those rights, and wishes to plead guilty.

         (6) that the plea of guilty by the defendant has been knowingly and voluntarily made and

 is not the result of force or threats or of promises apart from the plea agreement between the

 parties; and,

         (7) that there is a factual basis for the defendant’s plea.

         In light of those findings, I now recommend that; (1) the Court accept the defendant’s

 plea of guilty (2) that the defendant be adjudged guilty of Count 5 of the Indictment, in

 violation of Title 18 U.S.C. Section 924(c) and have sentence imposed. A Presentence Report

 has been ordered. Should this Report and Recommendation be accepted and the Defendant

 adjudged guilty, sentencing has been scheduled for September 10, 2008 at 9:00 a.m. (EDT),

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 before Chief Judge Robert L. Miller, Jr. Objections to the Findings and Recommendation are

 waived unless filed and served within ten (10) days. 28 U.S.C. § 636(b)(1)(B).

        DATED: July 2, 2008
                                                     S/Christopher A. Nuechterlein
                                                     Christopher A. Nuechterlein
                                                     United States Magistrate Judge




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